      Case 2:16-bk-22878-BR                        Doc 5 Filed 09/28/16 Entered 09/28/16 15:56:11                               Desc Ch
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Information to identify the case:
Debtor 1              Kimberly Barbour                                                   Social Security number or ITIN         xxx−xx−5789
                      First Name   Middle Name     Last Name                             EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                 Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                         EIN     _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Central District of California
                                                                                         Date case filed for chapter 7 9/28/16
Case number:          2:16−bk−22878−BR


Official Form 309B (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− Proof of Claim Deadline Set                                                                          12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read all pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                      About Debtor 2:

1.      Debtor's full name                       Kimberly Barbour

2.      All other names used in the aka Kimberly Martin−Bragg
        last 8 years

3.     Address                               6150 Shenandoah Avenue
                                             Los Angeles, CA 90056

4.     Debtor's attorney                     Peter M Lively                                           Contact phone 310−391−2400
                                             The Law Offices of Peter M Lively                        Email ____________________
       Name and address                      11268 Washington Blvd Ste 203
                                             Culver City, CA 90230−4647

5.     Bankruptcy trustee                    Brad D Krasnoff (TR)                                     Contact phone (310) 201−2417
                                             1900 Avenue of the Stars, 11th Floor                     Email ____________________
       Name and address                      Los Angeles, CA 90067−4402
                                                                                                                                                  /
                                                                                                         For more information, see pages 2 and 3 >
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6. Bankruptcy clerk's office               255 East Temple Street,                                                   Hours open: 9:00 AM − 4:00 PM
                                           Los Angeles, CA 90012
   Documents in this case may be filed                                                                               Contact phone 855−460−9641
   at this address. You may inspect all
   records filed in this case at this
   office or online at www.pacer.gov.                                                                                Dated: 9/29/16
7. Meeting of creditors                   November 3, 2016 at 09:00 AM                                             Location:

   Debtors must attend the meeting to     The meeting may be continued or adjourned to a later date. If so, the    915 Wilshire Blvd., 10th Floor,
   be questioned under oath by the        date will be on the court docket.                                        Meeting Room 2, Los Angeles,
   trustee and by creditors. In a joint
   case, both spouses must attend.                                                                                 CA 90017
                                          The trustee is designated to preside at the meeting of creditors. The
   Creditors may attend, but are not      case is covered by the chapter 7 blanket bond on file with the court.
   required to do so.

8. Presumption of abuse                Insufficient information has been filed to date to permit the clerk to make any determination
                                       concerning the presumption of abuse. If more complete information, when filed, shows that
   If the presumption of abuse arises, the presumption has arisen, creditors will be notified.
   you may have the right to file a
   motion to dismiss the case under
   11 U.S.C. § 707(b). Debtors may
   rebut the presumption by showing
   special circumstances.

9. Deadlines                              File by the deadline to object to discharge or to                         Filing deadline: 1/3/17
                                          challenge whether certain debts are dischargeable:
   The bankruptcy clerk's office must
   receive these documents and any
   required filing fee by the following   You must file a complaint:
   deadlines.
                                          • if you assert that the debtor is not entitled to
                                            receive a discharge of any debts under any of the
                                            subdivisions of 11 U.S.C. § 727(a)(2) through (7), or

                                          • if you want to have a debt excepted from discharge
                                            under 11 U.S.C § 523(a)(2), (4) or (6).

                                          You must file a motion:
                                          • if you assert that the discharge should be denied
                                            under § 727(a)(8) or (9).

                                          Deadline for all creditors to file a proof of claim (except                     Filing deadline: 2/1/17
                                          governmental units):
                                          Deadline for governmental units to file a proof of claim:                       Filing deadline: 3/27/17

                                          Deadlines for filing proof of claim:
                                          A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained
                                          at www.uscourts.gov or any bankruptcy clerk's office. If you do not file a proof of claim by the deadline, you might
                                          not be paid on your claim. To be paid, you must file a proof of claim even if your claim is listed in the schedules
                                          that the debtor filed.
                                          Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                          claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For
                                          example, a secured creditor who files a proof of claim may surrender important nonmonetary rights, including the
                                          right to a jury trial.
                                          Filing Deadline If the Case Is Converted to a Chapter 7 from the Original Filing under Chapter 11:
                                          The deadlines for filing claims apply to all creditors. This includes creditors of unpaid debts incurred after the
                                          commencement of the chapter 11 proceeding and showing in the Final Report of Account and Schedule of
                                          Unpaid Debts, that may qualify under 11 U.S.C. § 348(d).


                                          Deadline to object to exemptions:                                         Filing deadline: 30 days after the
                                          The law permits debtors to keep certain property as exempt. If you        conclusion of the meeting of creditors
                                          believe that the law does not authorize an exemption claimed, you
                                          may file an objection.

10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                           any questions about your rights in this case.

11. Liquidation of the debtor's            The bankruptcy trustee listed on the front of this notice will collect and sell the debtor's property that is not
    property and payment of                exempt. If the trustee can collect enough money, creditors may be paid some or all of the debts owed to them
                                           in the order specified by the Bankruptcy Code. To ensure you receive any share of that money, you must file a
    creditors' claims                      proof of claim as described above.
                                                                                                         For more information, see pages 1 and 3 >
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 12. Exempt property                     The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                         distributed to creditors. Debtors must file a list of property claimed as exempt. You may inspect that list at the
                                         bankruptcy clerk's office or online at www.pacer.gov. If you believe that the law does not authorize an
                                         exemption that the debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                         objection by the deadline to object to exemptions in line 9.

 13. Proof of Debtor               The U.S. Trustee requires that individual debtors must provide to the trustee at the meeting of creditors an
     Identification (ID) and Proof original picture ID and proof of SSN. Failure to do so may result in the U.S. Trustee bringing a motion to
                                   dismiss the case. Permissible forms of ID include a valid state driver's license, government or state−issued
     of Social Security            picture ID, student ID, military ID, U.S. Passport or legal resident alien card. Proof of SSN includes Social
     Number(SSN)                   Security Card, current W−2 form, pay stub, payment advice, IRS Form 1099, Social Security Administration
                                         Report, or other official document which indicates name and SSN.

 14. Failure to File a Statement         IF THE DEBTOR HAS NOT FILED A STATEMENT AND/OR SCHEDULE(S) AND/OR OTHER REQUIRED
     and/or Schedule(s)                  DOCUMENTS, the debtor must do so, or obtain an extension of time to do so, within 14 days of the petition
                                         filing date. Failure to comply with this requirement, or failure to appear at the initial section 341(a) meeting of
                                         creditors and any continuance, may result in dismissal of the case, unless leave of court is first obtained. If
                                         the debtor's case has not already been dismissed, AND DEBTOR FAILS TO DO ONE OF THE FOLLOWING
                                         WITHIN 45 DAYS AFTER THE PETITION DATE, subject to the provisions of Bankruptcy Code section
                                         521(i)(4), the court WILL dismiss the case effective on the 46th day after the petition date without further
                                         notice: (1) file all documents required by Bankruptcy Code section 521(a)(1); or (2) file and serve a motion for
                                         an order extending the time to file the documents required by this section.

                                         SI EL DEUDOR NO HA PRESENTADO UNA DECLARACIÓN Y/O LISTA(S) DE ACREEDORES Y/U
                                         OTROS DOCUMENTOS REQUERIDOS, tendrá que hacerlo dentro de un plazo de 14 días a partir de la
                                         fecha de presentación de la petición o tendrá que obtener una extensión del plazo para hacerlo. Si no
                                         cumple usted este requisito, o si no comparece a la junta 341(a) inicial de acreedores o a cualquier
                                         aplazamiento, esto resultará en que se declare sin lugar el caso, a menos de que obtenga un permiso del
                                         tribunal. Si no se ha declarado sin lugar el caso del acreedor, Y EL ACREEDOR NO HACE UNA DE LAS
                                         SIGUIENTES COSAS DENTRO DE UN PLAZO DE 45 DÍAS A PARTIR DE LA FECHA DE LA PETICIÓN,
                                         de acuerdo con lo dispuesto en la sección 521(i)(4) del Código de Quiebras, el juez DECLARARÁ el caso
                                         sin lugar a partir de el 46o día después de la fecha de presentación de petición sin más notificación: (1)
                                         registrar en actas todos los documentos que requiere la sección 521(a)(1) del Código de Quiebras; o (2)
                                         registrar y hacer entrega formal de una moción para pedir una orden que extienda el tiempo en que se
                                         pueden registrar en actas los documentos que requiere dicha sección.

 15. Bankruptcy Fraud and                Any questions or information relating to bankruptcy fraud or abuse should be addressed to the Fraud
     Abuse                               Complaint Coordinator, Office of the United States Trustee, 915 Wilshire Blvd., Suite 1850, Los Angeles, CA
                                         90017.




                                                                                                         For more information, see pages 1 and 2 >
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